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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF NEW YORK
                                                _____________________

                                               No 14-CV-5862 (JFB) (AKT)
                                                _____________________

                                                  CIT BANK, N.A.,
                                                                       Plaintiff,

                                                          VERSUS



                              TARA CONROY A/K/A TARA DONOVAN, ET AL.,
                                                                       Defendants.


                                                 ___________________

                                            MEMORANDUM AND ORDER
                                                  October 5, 2018
                                               ___________________



  JOSEPH F. BIANCO, District Judge:                           evidence demonstrates that CIT Bank is
                                                              entitled to summary judgment. Accordingly,
      Plaintiff CIT Bank, N.A. (“plaintiff” or                Donovan’s motion for summary judgment is
  “CIT Bank”) brings this action against James                denied and CIT Bank’s cross-motion for
  Donovan (“defendant” or “Donovan”) and                      summary judgment is granted.
  Tara Conroy (also known as Tara Donovan)
  to foreclose on a mortgage encumbering real                                I. BACKGROUND
  property (“the Subject Property”) pursuant to               A. Facts
  New York’s Real Property Actions and                            The Court assumes familiarity with the
  Proceedings Law (“RPAPL”) Section 1301,                     facts and procedural history of this case, and
  et seq. Presently before the Court are                      summarizes only the facts and history
  Donovan’s motion for summary judgment                       pertinent to the pending motions. The Court
  and CIT Bank’s cross-motion for summary                     takes the following facts from the parties’
  judgment. For the reasons set forth below,                  Rule 56.1 Statements, affidavits and
  the Court concludes that the uncontroverted                 exhibits. 1 Unless otherwise noted, where a

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    Because both parties moved for summary judgment,          cited as “Pl.’s Opp. 56.1”; plaintiff’s statement in
  multiple Local Rule 56.1 statements were submitted.         support of its motion will be cited as “Pl.’s 56.1”; and
  Defendant Donovan’s statement in support of his             defendant’s statement in opposition to plaintiff’s
  motion will be cited as “Def.’s 56.1”; plaintiff’s          motion will be cited as “Def.’s Opp. 56.1.” The Court
  statement in opposition to defendant’s motion will be       notes that defendant filed two Rule 56.1 statements in
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  Rule 56.1 statement is cited, that fact is                    Loan is signed.” (Donovan Decl. Ex. C
  undisputed or the opposing party has not                      ¶ 3(e)). Second, on or about June 1, 2008,
  pointed to any contradictory evidence in the                  IndyMac and defendants executed a
  record.                                                       Modification Agreement entitled “Roll-to-
                                                                Perm,” which changed the interest rate and
      1. Note and Mortgage                                      monthly payment on the Note. (Marks Aff.
      As noted, plaintiff brings this action                    Ex. C.)
  against defendants, under RPAPL § 1301 et                         In July 2008, IndyMac was closed by the
  seq. to foreclose on the Subject Property and                 Office of Thrift Supervision. (Marks Aff.
  to declare the balance of the principle due and               ¶ 7.)     The Federal Deposit Insurance
  immediately payable under the terms of a                      Corporation (“FDIC”) was appointed as
  Note and Mortgage (collectively, the “Loan”)                  Receiver, and IndyMac’s assets were
  executed on April 25, 2007. (Pl.’s 56.1 ¶ 4.)                 transferred to IndyMac Federal Bank
  The Note was executed by defendants in                        (“IndyMac Federal”). (Id.) On March 19,
  favor of non-party IndyMac Bank, FSB                          2009, OneWest Bank N.A. (“OneWest”)
  (“IndyMac”) in the principal sum of                           acquired “substantially all” of the assets of
  $600,000, secured by a lien on the Subject                    IndyMac Federal pursuant to a Master
  Property. (Pl.’s 56.1 ¶¶ 4-5; see also Marks                  Purchase Agreement and a Loan Sale
  Aff. Ex. A.) The Note and Mortgage both                       Agreement (“LSA”). (Marks Aff. ¶¶ 8-9.)
  state that the failure to make each monthly
  payment in full on the due date will constitute                   CIT Bank, which was formerly called
  a default. (Marks Aff. Ex. A ¶ 7(B), Ex. B                    OneWest, 2 attests that the Loan is one of the
  ¶ 11.) According to the terms of the                          assets it acquired from IndyMac Federal, as
  Mortgage, the mortgagee may send a notice                     reflected in a Loan Schedule attached to the
  of default to the mortgagors, notifying them                  LSA. (Marks Aff. Ex. D.) Though difficult
  that the overdue amount must be paid by a                     to read, the Loan Schedule lists the address of
  certain date. (Marks Aff. Ex. B ¶ 22.) If the                 the Subject Property, as well as certain other
  mortgagors fail to pay by that date, Paragraph                identifying features of the Loan. (Id.) On
  22 of the Mortgage allows the mortgagee to                    July 18, 2010, OneWest recorded a copy of
  require immediate payment in full of the                      the assignment of the Mortgage from
  remaining unpaid amount. (Id.)                                IndyMac Federal to OneWest in the Suffolk
                                                                County Clerk’s Records Office with an
      The Loan was subject to two                               effective date of March 19, 2009. (See ECF
  modifications.       First, a Modification                    No. 3-1.)
  Agreement, executed on October 28, 2007,
  extended the construction period by sixty                         When plaintiff filed the complaint in this
  days, added a prepayment penalty, and                         action, it also filed a Certificate of Merit
  released the interest rate lock commitment,                   attaching the Note indorsed by IndyMac in
  requiring that it float “until the Permanent                  blank and two allonges to the Note. (Id.) As


  opposition to plaintiff’s motion for summary                  2017 version, but has considered both statements filed
  judgment: one is dated February 4, 2017 (ECF No.              by defendant.
  135-35), and the other is dated February 15, 2017
  (ECF No. 136-3). The Rule 56.1 statements are
                                                                2
                                                                  In 2014, plaintiff changed its name from OneWest
  slightly different. Therefore, for purposes of the            Bank, FSB to OneWest Bank N.A. and then changed
  instant motion, the Court will cite to the February 15,       its name again to CIT Bank, N.A. (Marks Aff. ¶ 10.)
                                                                There is no dispute that OneWest and CIT Bank are
                                                                the same entity.

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  to the allonges attached to the Note, each is       attached to the Marks Affidavit copies of the
  titled “ALLONGE TO NOTE” and states the             default notices and the transaction report
  following: “For purposes of further                 confirming the date the notices were sent to
  endorsement of the following described              defendants. (See Marks Aff. Exs. F, G.) In
  Note, the allonge is affixed and becomes a          accordance with RPAPL § 1304, on June 11,
  permanent part of said Note.” (Marks Aff.           2014, plaintiff mailed ninety-day pre-
  Ex. A at 10-11.) The allonges differ in that        foreclosure notices to each defendant by
  one contains a specific indorsement making          certified and regular mail. (Marks Aff. Ex.
  the Note payable to “ONEWEST BANK,                  H; Pl’s 56.1 ¶ 16.) Plaintiff attached a
  FSB, WITHOUT RECOURSE” and is                       transaction report to the Marks Affidavit
  signed by Sandra Schneider as “Attorney-In-         confirming that the ninety-day notices were
  Fact” on behalf of the “FEDERAL DEPOSIT             sent to defendants. (Marks Aff. Ex. G,
  INSURANCE CORPORATION as Receiver                   Transaction Report.) Plaintiff avers that
  for IndyMac Federal Bank, FSB, successor to         $592,405.03 remains due on the Loan. (Pl’s
  IndyMac Bank, F.S.B.” (id. at 10), while the        56.1 ¶ 17; Marks Aff. ¶¶ 12, 16.)
  other allonge is indorsed in blank, and is
  signed by Sandra Schneider in her capacity as           Defendant contends that he made the
  “Vice President of OneWest Bank, FSB.”              February 1, 2009 payment, but that plaintiff
  (Id. at 11.) Both allonges are undated. (See        misapplied that payment. (Def.’s Opp. 56.1
  id. at 10-11.)                                      ¶ 14.) He also claims, without offering any
                                                      evidence, that “the Loan was paid through
     In an affirmation signed and dated               March 1, 2016.” (Def.’s Mem. at 20.)
  January 30, 2017, CIT Bank’s foreclosure            Defendant does not dispute that he received
  counsel affirmed that he received the Note          the ninety-day notice, but instead argues that
  and indorsements-in-blank from CIT Bank             the notice failed to comply with the
  on May 30, 2014 (Jacobson Aff. ¶¶ 3-4, ECF          requirements of RPAPL § 1304 because the
  No. 135-14) and, thus, that CIT Bank                Notice provided February 1, 2009 as the date
  possessed the Note when this action was filed       of defendants’ initial default on the loan.
  on October 7, 2014.                                 (Def’s Opp. 56.1 ¶¶ 15-16.) He further
                                                      claims that he only received the Notice by
     2. The Default                                   certified mail. (Id.)
     Plaintiff alleges that defendants breached       B. Procedural History
  the Loan by failing to make the monthly
  payment due on February 1, 2009, and all               On August 9, 2009, plaintiff, then known
  subsequent monthly payments due thereafter.         as OneWest, commenced a state court action
  (Marks Aff. ¶ 12.) On May 9, 2009, IndyMac          in New York Supreme Court, Suffolk County
  sent a letter to defendants by certified mail       (“the State Action”), attempting to foreclose
  informing them that they were in default and        on the Subject Property.             Plaintiff
  that a payment of $17,054.89 was due on or          immediately moved for summary judgment.
  before June 9, 2009, to cure the default.           By Order dated December 15, 2010, the state
  (Donovan Decl. Ex. E.)              Following       court denied OneWest’s motion, finding that
  defendants’ continued default of the loan, on       there was no admissible proof that OneWest
  June 11, 2014, pursuant to paragraph 22 of          was the successor in interest to IndyMac
  the Mortgage, plaintiff mailed notices of           Federal with respect to defendants’ Loan and
  default to James Donovan and Tara Conroy            thus had no standing to commence the
  individually, by certified and regular mail.        lawsuit. Following defendants’ subsequent
  (Marks Aff. ¶ 13; Pl’s 56.1 ¶ 15.) Plaintiff        motion to dismiss plaintiff’s claim, the state

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  court converted the motion to one for                             Order’s conclusion that plaintiff’s claims
  summary judgment and, on August 12, 2013,                         were barred by the doctrine of collateral
  granted summary judgment to defendants.                           estoppel. (ECF No. 150.) By Memorandum
  The court found that plaintiff had failed to                      and Order dated July 20, 2018, this Court
  submit sufficient evidence to establish                           granted      plaintiff’s    motion        for
  standing as of the date the State Action was                      reconsideration, and on reconsideration,
  filed.                                                            denied defendants’ motions for summary
                                                                    judgment on the basis of collateral estoppel.
      On October 7, 2014, plaintiff initiated the                   (ECF No. 154.) 4 The Court did not reach the
  instant action, amending its complaint on                         merits of the parties’ remaining arguments.
  September 23, 2016.         (ECF No. 97.)                         (See id.)
  Following discovery, defendants moved for
  summary judgment. (ECF Nos. 135-11,                                       II. STANDARD OF REVIEW
  136.) Defendant Conroy’s motion was                                      Under Federal Rule of Civil Procedure
  limited to the argument that plaintiff was                        56(a), a court may grant a motion for
  precluded from bringing this action under the                     summary judgment only if “the movant
  doctrines of res judicata and collateral                          shows that there is no genuine dispute as to
  estoppel. Defendant Donovan also asserted                         any material fact and the movant is entitled to
  those arguments, but also raised others,                          judgment as a matter of law.” Fed. R. Civ. P.
  including an attack on the sufficiency of the                     56(a); Gonzalez v. City of Schenectady, 728
  assignment and indorsement of the Note,                           F.3d 149, 154 (2d Cir. 2013). The moving
  failure to give proper notice pursuant to                         party bears the burden of showing that he or
  RPAPL § 1304, lack of subject matter                              she is entitled to summary judgment.
  jurisdiction under the Rooker Feldman                             Huminski v. Corsones, 396 F.3d 53, 69 (2d
  doctrine, and judicial estoppel. Plaintiff                        Cir. 2005). “A party asserting that a fact
  crossed-moved for summary judgment on its                         cannot be or is genuinely disputed must
  foreclosure claim and on defendants’                              support the assertion by: (A) citing to
  counterclaims. (ECF No. 135-31.)                                  particular parts of materials in the record,
      By Memorandum and Order dated May 3,                          including       depositions,       documents,
  2017, the Honorable Leonard D. Wexler                             electronically stored information, affidavits
  granted defendants’ motions for summary                           or declarations, stipulations (including those
  judgment based solely on collateral                               made for purposes of the motion only),
  estoppel, 3 denied plaintiff’s motion for                         admissions, interrogatory answers, or other
  summary judgment on its affirmative claims,                       materials; or (B) showing that the materials
  but granted plaintiff’s motion for summary                        cited do not establish the absence or presence
  judgment on defendants’ counterclaims, and                        of a genuine dispute, or that an adverse party
  dismissed the complaint. (ECF No. 148.)                           cannot produce admissible evidence to
                                                                    support the fact.” Fed. R. Civ. P. 56(c)(1).
      On May 17, 2017, plaintiff filed a motion                     The court “is not to weigh the evidence but is
  for reconsideration of the May 3, 2017                            instead required to view the evidence in the

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    In light of its previous state foreclosure action against       4
                                                                       Because defendant Tara Conroy’s motion for
  defendants, the Court found that the plaintiff was                summary judgment asserted only that plaintiff’s
  estopped from asserting that it had standing to                   foreclosure claim was barred by collateral estoppel,
  foreclose, and therefore declined to consider the merits          the Court denied that motion in its entirety on
  of plaintiff’s foreclosure claim against defendants.              reconsideration.
  (Id. at 5.)

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  light most favorable to the party opposing                Where, as here, the parties have filed
  summary judgment, to draw all reasonable              cross-motions for summary judgment, “the
  inferences in favor of that party, and to             court must consider each motion
  eschew credibility assessments.” Amnesty              independently of the other and when
  Am. v. Town of West Hartford, 361 F.3d 113,           evaluating each, the court must consider the
  122 (2d Cir. 2004) (quoting Weyant v. Okst,           facts in the light most favorable to the
  101 F.3d 845, 854 (2d Cir. 1996)); see                nonmoving party.” Chartis Seguros Mexico,
  Anderson v. Liberty Lobby, Inc., 477 U.S.             S.A. de C.V. v. HLI Rail & Rigging, LLC, 3 F.
  242, 248 (1986) (summary judgment is                  Supp. 3d 171, 179 (S.D.N.Y. 2014); see also
  unwarranted if “the evidence is such that a           Heublein, Inc. v. United States, 996 F.2d
  reasonable jury could return a verdict for the        1455, 1461 (2d Cir. 1993) (“[T]he court must
  nonmoving party”).                                    evaluate each party’s motion on its own
                                                        merits, taking care in each instance to draw
       Once the moving party has met its                all reasonable inferences against the party
  burden, the opposing party “must do more              whose motion is under consideration.” (citing
  than simply show that there is some                   Schwabenbauer v. Bd. of Educ. of Olean, 667
  metaphysical doubt as to the material                 F.2d 305 (2d Cir. 1981))).
  facts . . . . [T]he non-moving party must
  come forward with specific facts showing                           III. DISCUSSION
  that there is a genuine issue for trial.”
  Caldarola v. Calabrese, 298 F.3d 156, 160             A. Mortgage Foreclosure
  (2d Cir. 2002) (quoting Matsushita Elec.                  Under New York law, a mortgage is
  Indus. Co. v. Zenith Radio Corp., 475 U.S.            “merely security for a debt or other
  574, 586-87 (1986)). As the Supreme Court             obligation.” United States v. Freidus, 769 F.
  stated in Anderson, “[i]f the evidence is             Supp. 1266, 1276 (S.D.N.Y. 1991) (quoting
  merely colorable, or is not significantly             77 N.Y. Jur. 2d, Mortgages § 2); accord
  probative, summary judgment may be                    Rivera v. Blum, 420 N.Y.S.2d 304, 308 (Sup.
  granted.” 477 U.S. at 249-50 (citations               Ct. 1978) (“A mortgage is a security for a
  omitted). Indeed, “the mere existence of              debt representing a lien on the mortgaged
  some alleged factual dispute between the              premises.”). The “mortgagor is bound by the
  parties will not defeat an otherwise properly         terms of his contract as made” and, in the
  supported motion for summary judgment.”               event of a default, cannot be relieved from the
  Id. at 247-48. The non-moving party may not           default unless “waive[d] by the mortgagee,”
  rest upon conclusory allegations or denials           or where there is “estoppel, or bad faith,
  but must set forth “concrete particulars”             fraud, oppressive or unconscionable
  showing that a trial is needed. R.G. Grp., Inc.       conduct” on the part of the mortgagee.
  v. Horn & Hardart Co., 751 F.2d 69, 77 (2d            Freidus, 769 F. Supp. at 1276 (quoting
  Cir. 1984) (quoting SEC v. Research                   Nassau Tr. Co. v. Montrose Concrete Prods.
  Automation Corp., 585 F.2d 31, 33 (2d Cir.            Corp., 56 N.Y.2d 175, 183 (1982))
  1978)). Thus, it is insufficient for a party          (collecting cases).
  opposing summary judgment “merely to
  assert a conclusion without supplying                     To establish a prima facie case in a
  supporting arguments or facts.” BellSouth             foreclosure action, New York courts require
  Telecomms., Inc. v. W.R. Grace & Co., 77              that the plaintiff demonstrate “the existence
  F.3d 603, 615 (2d Cir. 1996).                         of the mortgage and mortgage note,
                                                        ownership of the mortgage, and the
                                                        defendant’s default in payment.” Campaign

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  v. Barba, 805 N.Y.S.2d 86, 86 (2d Dep’t                     default in the form of unrebutted affidavit
  2005); see also Freidus, 769 F. Supp. at 1277               testimony and copies of the notice of default
  (stating that in foreclosure actions, “the                  and pre-foreclosure notice sent to defendants.
  essential requirements of the plaintiff’s case
  are proof of the existence of an obligation                    Defendant raises a number of defenses to
  secured by a mortgage, and a default on that                foreclosure, contending that he is entitled to
  obligation”). Once the plaintiff establishes a              judgment as a matter of law. Specifically,
  prima facie case, it has a presumptive right to             defendant contends that plaintiff lacks
  foreclose. See Fleet Nat’l Bank v. Olasov,                  standing to foreclose on the mortgage. He
  793 N.Y.S.2d 52, 52 (2d Dep’t 2005)                         further claims that judicial estoppel bars
  (collecting cases).                                         plaintiff’s claim and that this Court lacks
                                                              subject matter jurisdiction pursuant to the
      The burden then shifts to the defendant to              Rooker Feldman doctrine. 5 However, as
  raise a triable issue of fact, including with               discussed below, the Court finds that
  respect to any alleged defenses or                          defendant fails to raise any triable issue of
  counterclaims. Id. at 52-53; see also U.S.                  fact, and concludes that, having established
  Bank Tr. Nat’l Ass’n Tr. v. Butti, 792                      its standing to foreclose on defendants’
  N.Y.S.2d 505, 506 (2d Dep’t 2005)                           mortgage and the requisite elements of
  (affirming summary judgment where                           foreclosure based on uncontroverted
  “plaintiff produced the note and mortgage                   evidence, plaintiff is entitled to judgment as
  executed by the appellant, as well as evidence              a matter of law.
  of nonpayment,” and “[a]ccordingly, it was
  incumbent upon the appellant to produce                         1. Standing
  evidentiary proof in admissible form                            First, defendant challenges plaintiff’s
  sufficient to require a trial of his defenses,”             standing to bring this foreclosure action by
  but “appellant failed to do so”); Republic                  claiming that the assignment of the Note to
  Nat’l Bank of N.Y. v. O’Kane, 764 N.Y.S.2d                  plaintiff was invalid and/or that plaintiff
  635, 635 (2d Dep’t 2003) (same).                            otherwise does not have proper possession of
      As discussed more fully below, plaintiff                the Note. (See Def.’s Mem. at 15-18.)
  has established the required elements of                    “Where standing is raised as a defense by the
  foreclosure.     Specifically, plaintiff has                defendant, the plaintiff is required to prove its
  produced the Note and Mortgage as                           standing before it may be determined
  attachments to its complaint and again as                   whether the plaintiff is entitled to relief.”
  exhibits in support of its motion for summary               1077 Madison St., LLC v. Smith, 670 F.
  judgment.       Additionally, plaintiff has                 App’x 745, 746 (2d Cir. 2016) (quoting U.S.
  produced the LSA demonstrating the                          Bank, N.A. v. Sharif, 933 N.Y.S.2d 293, 295
  assignment of the Loan to OneWest. Further,                 (2d Dep’t 2011)). In this regard, “[u]nder
  plaintiff has provided proof of defendants’                 New York law, ‘[a] plaintiff establishes its

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    The Court notes that defendant appears to have            between pro se and counseled responses is
  abandoned the defenses of judicial estoppel and the         appropriate. In the case of a pro se, the district court
  Rooker-Feldman doctrine in his opposition to                should examine every claim or defense with a view to
  plaintiff’s cross-motion for summary judgment.              determining whether summary judgment is legally and
  However, in light of defendant’s pro se status, the         factually appropriate. In contrast, in the case of a
  Court address them here. See Jackson v. Fed. Exp.,          counseled party, a court may, when appropriate, infer
  766 F.3d 189, 197-98 (2d Cir. 2014) (“Where a partial       from a party’s partial opposition that relevant claims
  response to a motion is made—i.e., referencing some         or defenses that are not defended have been
  claims or defenses but not others—a distinction             abandoned.”)

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  standing in a mortgage foreclosure action by                 indorsement in blank—at the time it initiated
  demonstrating that, when the action was                      the instant foreclosure proceeding. (Marks
  commenced, it was either the holder or                       Aff. Ex. A.)         Andrew L. Jacobson,
  assignee of the underlying note.’” OneWest                   foreclosure counsel to CIT Bank, affirmed
  Bank, N.A. v. Melina, 827 F.3d 214, 222 (2d                  that his law firm received the original Note,
  Cir. 2016) (quoting Wells Fargo Bank, N.A.                   with allonges, on or about, May 30, 2014,
  v. Rooney, 19 N.Y.S.3d 543, 544 (2d Dep’t                    and, thus, that CIT Bank possessed the Note
  2015)). “Either a written assignment of the                  when this action was filed on October 7,
  underlying note or the physical delivery of                  2014, and retained possession through the
  the note prior to the commencement of the                    date of his affirmation, January 30, 2017.
  foreclosure action is sufficient to transfer the             (Jacobson Affirm. ¶¶ 1, 3-4.) Additionally,
  obligation, and the mortgage passes with the                 the Assistant Vice President of CIT Bank
  debt as an inseparable incident.”             Id.            stated in her affidavit that, on May 29, 2014,
  (citations omitted).                                         the collateral file, including the original
                                                               indorsed Note, was sent to CIT Bank’s
      “Holder status is established where the                  attorneys. (Marks Aff. ¶ 11.) The Marks
  plaintiff possesses a note that, on its face or              Affidavit and Jacobson Affirmation provide
  by allonge, contains an indorsement in blank                 sufficient evidence of physical possession to
  or bears a special indorsement payable to the                prove plaintiff’s standing to foreclose on the
  order of the plaintiff.” E. Sav. Bank, FSB v.                mortgage associated with the Note. 6 See
  Thompson, 631 F. App’x 13, 15 (2d Cir.                       Melina, 817 F.3d at 223 (citing Wells Fargo
  2015) (quoting Wells Fargo Bank, N.A. v.                     Bank, N.A. v. Charlaff, 24 N.Y.S.3d 317, 319
  Ostiguy, 8 N.Y.S.3d 669, 671 (3d Dep’t                       (2d Dep’t 2015)); Rooney, 19 N.Y.S.3d at
  2015)). “New York courts have repeatedly                     544-45; HSBC Bank USA, N.A. v. Spitzer, 18
  held that proof of physical possession—such                  N.Y.S.3d 67, 68 (2d Dep’t 2015); Deutsche
  as the affidavits of OneWest’s corporate                     Bank Nat’l Tr. Co. v. Abdan, 16 N.Y.S.3d
  representative and counsel in this case—is                   459, 459 (2d Dep’t 2015). As a matter of law,
  sufficient on its own to prove a plaintiff’s                 the Mortgage was also transferred to CIT
  standing to foreclose on the mortgage                        Bank at the time the Note was transferred.
  associated with the note.” Melina, 827 F.3d                  See Mortg. Elec. Registration Sys., Inc. v.
  at 223 (“OneWest thus had no obligation to                   Coakley, 838 N.Y.S.2d 622, 623 (2d Dep’t
  provide details pertaining to the transfer or                2007) (finding that the mortgage “passed as
  delivery of [the defendant’s] [n]ote in order                an incident to the promissory note”).
  to prove its standing to foreclose on the
  associated mortgage.”).                                          Defendant’s claim that the Note was
                                                               fraudulently indorsed is not supported by any
      Here, plaintiff is the holder of the Note.               evidence in the record. (Def.’s Mem. at 16-
  Plaintiff has demonstrated that it received the              18.) Specifically, defendant argues that,
  Note by physical delivery and that it                        during discovery, plaintiff submitted two
  possessed the Note—which contains an

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    Defendant’s argument that the Marks Affidavit is not       records as they relate to the loan at issue in this action,
  based upon personal knowledge fails to create an issue       including the exhibits herein.” (Supp. Marks Aff. ¶ 2.)
  of fact. (Def.’s Opp. Mem. at 12-13.) Marks attests          These statements are sufficient. See OneWest Bank,
  that she has “acquired personal knowledge of the             N.A. v. Rubio, No. 14-CV-3800, 2015 WL 5037111, at
  matters stated herein by personally examining the[]          *2 (S.D.N.Y. Aug. 26, 2015) (finding similar affidavit
  business records.” (Marks Aff. ¶ 3.) Marks further           admissible to establish prima facie entitlement to
  attests that, “[i]n connection with making this              summary judgment in foreclosure action in favor of
  affidavit, I have personally examined these business         plaintiff).

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  different versions of the Note: one which                      instrument that has been endorsed in blank
  contains a “stamp indorsement” by Vartan                       must establish how it came into possession of
  Derbedrossian as Vice President of IndyMac,                    the instrument in order to be able to enforce
  who plaintiff alleges was not authorized to                    it.”    JPMorgan Chase Bank, N.A. v
  indorse Notes on behalf of IndyMac, and one                    Weinberger, 37 N.Y.S.3d 286, 289 (2d Dep’t
  stamped “Certified True Copy” that does not                    2016). Further, “it is unnecessary to give
  contain an indorsement by Derbedrossian.                       factual details of the delivery in order to
  (Id.; Def.’s Opp. 56.1 ¶ 5.) Defendant                         establish that possession was obtained prior
  contends that the indorsed Note was not                        to a particular date.” Id. (citing Aurora Loan
  submitted by plaintiff at the time it                          Servs., LLC v Taylor, 25 N.Y.3d 355, 362
  commenced the 2009 State Action. (Def.’s                       (2015)).” 7
  Mem. at 17.) He argues that the indorsed
  Note first appeared in the State Action on or                      Plaintiff also established its standing on
  about March 13, 2013, attached as an exhibit                   independent grounds as the assignee of the
  to plaintiff’s opposition to the summary                       Note. “In New York, standing to foreclose
  judgment motion before the state court. (Id.)                  may be established by ‘a written assignment
  Thus, defendant claims that the indorsed                       of the underlying note.’” Melina, 827 F.3d at
  version of the Note is fraudulent as                           223 (quoting OneWest, F.S.B. v. Goddard, 17
  Derbedrossian was no longer employed by                        N.Y.S.3d 142, 143 (2d Dep’t 2015)). “No
  IndyMac after February 2009. (Id. at 18.)                      special form or language is necessary to
                                                                 effect an assignment as long as the language
      The record simply does not support this                    shows the intention of the owner of a right to
  assertion. First, any variations of the Note are               transfer it.” Id. (quoting Suraleb, Inc. v. Int’l
  immaterial because the uncontroverted                          Trade Club, Inc., 788 N.Y.S.2d 403, 404 (2d
  record establishes plaintiff’s ownership of the                Dep’t 2004)). Plaintiff asserts that the
  Note, indorsed in blank, and the concomitant                   Mortgage and Note were assigned to it by the
  right to foreclose the mortgage at the time it                 execution of the LSA dated March 19, 2009,
  filed this action. Furthermore, the Note is                    between OneWest and the FDIC as Receiver
  undated and plaintiff has not claimed that the                 for IndyMac Federal, pursuant to which CIT
  Note was indorsed after February 2009.                         Bank acquired certain loans from IndyMac,
  (Marks Aff. Ex. A; Pl.’s Reply Mem. at 8.)                     including the at-issue Loan. (See Marks Aff.
  Moreover, according to Derbedrossian’s                         Ex. D.) The LSA provides that FDIC, as
  Response to Defendant’s First Request for                      receiver and conservator for IndyMac
  Admissions, he kept his “signing authority                     Federal, would “sell[], transfer[], convey[],
  when the FDIC was appointed conservator of                     assign[] and deliver[]” to OneWest, and
  [IndyMac Bank].” (See Donovan Decl. Ex.                        OneWest would “purchase[], accept[] and
  R.) Contrary to defendant’s contentions,                       assume[] from [FDIC] . . . all of [FDIC’s]
  “[t]here is simply no requirement that an                      rights, title and interests in, to and under”
  entity in possession of a negotiable                           certain defined assets. (Marks Aff. Ex. D

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    Defendant’s argument that Sandra Schneider was not           instrument or on a paper so firmly affixed thereto as to
  authorized to execute allonges on behalf of the FDIC           become a part thereof,” here, the Note itself contains
  and that the allonge to the Note is insufficient because       an indorsement in blank.               (Marks Aff. ¶ 5.)
  it was paperclipped to the Note fail to create an issue        Additionally, as discussed infra, the assignment of the
  of fact precluding summary judgment. (See Def.’s               Note to plaintiff in and of itself is sufficient to establish
  Opp. 56.1 ¶ 6; Def.’s Mem. at 18-19.) Although it is           plaintiff’s ownership of defendants’ Loan. See
  true that New York U.C.C. § 3-302(2) requires that             Melina, 827 F.3d at 223.
  “[a]n indorsement must be written . . . on the

                                                             8
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  § 2.01(a)). Such assets include “all of the                  ¶¶ 6-7.) However, nothing in the record
  [FDIC’s] rights, title and interest in, to and               supports defendant’s contention. In fact,
  under the Loans (including all Notes, the                    defendant continued to make monthly
  other Loan Documents and Related                             payments on the Loan for ten months after
  Agreements) identified on the Loan Schedule                  plaintiff’s alleged failure to convert the Loan.
  attached hereto as Attachment A.” (Id. at §                  (See Def.’s Opp. 56.1 ¶ 14; Marks Aff. Ex. E,
  2.01(a)(i)). The attached Loan Schedule                      Loan History.)        Furthermore, defendant
  includes defendants’ Mortgage Loan. (See                     ignores the June 1, 2008 Modification
  Marks Aff. Ex. D.) Significantly, as the                     Agreement, which superseded any earlier
  Second Circuit recently noted in Melina, in                  agreements between the parties. (Marks Aff.
  reference to the same LSA agreement at issue                 Ex. C.) That agreement contained the terms
  here, “[t]he LSA thus assigned to [Plaintiff]                of the defendants’ permanent loan and states
  all of the rights that FDIC previously had to                on the first page: “THIS AGREEMENT
  [the defendant’s] loan as the conservator and                MODIFIES THE NOTE TO CHANGE THE
  receiver of IndyMac Federal—and this                         INTEREST RATE AND MONTHLY
  assignment sufficed to give [the plaintiff]                  PAYMENT, PROVIDES FOR A CHANGE
  standing to foreclose.” 827 F.3d at 223.                     IN THE INTIAL FIXED INTEREST RATE
  Thus, the LSA is sufficient under New York                   TO AN ADJUSTABLE INTEREST RATE
  law to assign the Note to OneWest. See                       AND LIMITS THE AMOUNT THE
  Melina v. OneWest Bank, N.A., No. 14 CV                      ADJUSTABLE INTEREST RATE CAN
  5290, 2015 WL 5098635, at *4 (E.D.N.Y.                       CHANGE AT ANY ONE TIME AND THE
  Aug. 31, 2015) (citing Rajamin v. Deutsche                   MAXIMUM RATE.” (Id.) Any contrary
  Bank Nat’l Tr. Co., 757 F.3d 79, 91-92 (2d                   contentions made by defendant are not
  Cir. 2014), aff’d 827 F.3d 214 (2d Cir. 2016);               supported by the record. See E. Sav. Bank
  CIT Bank N.A. v. Elliot, 15-CV-4395, 2018                    FSB v. Rabito, No. 11-cv-2501, 2012 WL
  WL 1701947, at *8-9 (E.D.N.Y. Mar. 31,                       3544755, at *4-5 (E.D.N.Y. Aug. 16, 2012)
  2018); OneWest Bank, N.A. v. Perez, 14- CV-                  (finding that defendant failed to raise any
  3465, 2015 WL 12659924, at * 7-8 (July 18,                   legal defense to plaintiff’s proof of default
  2015). Again, the Mortgage followed the                      where he denied the default in his answer and
  Note by operation of law. See Mortg. Elec.                   opposition to a motion for summary
  Registration Sys., Inc., 838 N.Y.S.2d at 623. 8              judgment, but provided no further evidence
  Therefore, plaintiff has established its                     in support).
  standing as both the holder and the assignee
  of the Note, and thus the Mortgage, prior to                    Defendant further contends that plaintiff’s
  the commencement of this action.                             ninety-day foreclosure notice failed to satisfy
                                                               the requirements of RPAPL § 1304. That
      2. Default and Notice Requirements                       section provides, in relevant part, that “at
                                                               least ninety days before a lender, an assignee,
     Defendant      disputes    his    default,                or a mortgage loan servicer commences legal
  contending that the Loan was rescinded when                  action against the borrower, . . . including
  IndyMac failed to convert the Loan from the                  mortgage foreclosure, [that entity] shall give
  construction phase to the permanent phase on                 notice to the borrower in at least fourteen-
  March 16, 2008, pursuant to the terms of the                 point type” of the debt owed and amounts due
  2007 modified agreement. (Def’s Rule 56.1

  8
    The recorded assignment of the Mortgage to plaintiff
  on July 19, 2010, is further evidence of plaintiff’s
  standing. (See Certificate of Merit, Ex. A.)

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   to cure the default. Id. § 1304(1). It further             Loan History.) 9 Furthermore, as set forth in
   provides that such notice must be given in a               the Marks Affidavit, “on June 11, 2014, as
   specific form:                                             part of [p]laintiff’s regular mailing practices,
                                                              [p]laintiff mailed 90-day notices that were
       Such notice shall be sent . . . by                     compliant with RPAPL 1304 in font size and
       registered or certified mail and also                  content to each [d]efendant by both certified
       by first-class mail to the last known                  and regular mail.” (Marks Supp. Aff. ¶ 3; see
       address of the borrower, and to the                    also Marks Aff. Ex. H.) Moreover, defendant
       residence that is the subject of the                   does not deny receiving the notice in the mail
       mortgage. . . . Notice is considered                   and CIT Bank submitted documentary
       given as of the date it is mailed.                     evidence in the form of United States Postal
   Id. § 1304(2). “[P]roper service of RPAPL                  Service records establishing that the notices
   [§] 1304 notice on the borrower or borrowers               were mailed to the Subject Property on June
   is a condition precedent to the                            11, 2014. (See Def.’s Opp. 56.1 ¶ 16; Marks
   commencement of a foreclosure action.”                     Aff. Ex. G.) Therefore, as the uncontroverted
   Wells Fargo Bank, N.A. v. Ullah, No. 13-CV-                evidence shows, the notice requirements of
   485 (JPO), 2015 WL 3735230, *8 (S.D.N.Y.                   RPAPL § 1304 were satisfied.
   June 15, 2015) (quoting Aurora Loan Servs.,                   Thus, having established its standing to
   LLC v. Weisblum, 923 N.Y.S.2d 609, 615 (2d                 sue and the existence of a debt and a
   Dep’t 2011)). Plaintiff has the burden of                  mortgage securing the debt, plaintiff has also
   establishing that it satisfied this condition.             provided proof of defendants’ default in the
   Id.                                                        form of unrebutted affidavit testimony and
       Although defendant generally denies that               copies of the notice of default and pre-
   he defaulted on the Loan, he argues that, if a             foreclosure notice sent to defendants. See
   default did occur, the earliest date on which              OneWest Bank, N.A. v. Rosado, No. 14 Civ.
   plaintiff could have declared a default was                9917, 2016 WL 3198305, at *2 (S.D.N.Y.
   April 1, 2009. (Def.’s Opp. 56.1 ¶¶ 14, 15,                June 7, 2016) (finding similar proof
   19; Def.’s Mem. at 20.) Thus, defendant                    sufficient); Melina, 2015 WL 5098635, at *1-
   alleges that because plaintiff’s ninety-day                3 (same).        Accordingly, plaintiff has
   notice stated that the default occurred on                 established its prima facie case for
   February 1, 2009, the notice contains a                    foreclosure.
   factual inaccuracy and fails to meet the
   requirements of RPAPL § 1304. (Def.’s                      B. Alleged Defenses
   Mem. at 20.) Furthermore, defendant alleges                    1. Judicial Estoppel
   that he only received the ninety-day notice by
   certified mail. (Def.’s Opp. 56.1 ¶ 16.)                       Defendant raises the affirmative defense
                                                              that plaintiff’s action is barred by the doctrine
      Such      conclusory     allegations     are            of judicial estoppel. (Def.’s Mem. at 14-15.)
   insufficient to create an issue of fact. As                Defendant appears to base this contention on
   demonstrated by the loan history attached to               the fact that plaintiff has foreclosed on other
   the Marks Affidavit, plaintiff defaulted on the            homes “as successor in interest to IndyMac.”
   payment due February 1, 2009, and all                      (Id. at 14.) Defendant’s argument has no
   payments thereafter. (See Marks Aff. Ex. E,

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    Defendant relies on the incomplete history of loan        provides the loan payments made by defendants
   payments that he attached to his declaration. (See         through only January 2009. (Id.)
   Donovan Decl. Ex. S.) However, that document

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   merit and thus fails to raise a material issue          (alterations in original) (quoting Exxon, 544
   of fact.                                                U.S. at 283). Four requirements must be
                                                           satisfied for Rooker-Feldman to apply:
      Judicial estoppel prevents a party from              “(1) the federal-court plaintiff lost in state
   asserting a factual position in one legal               court; (2) the plaintiff ‘complain[s] of
   proceeding that is contrary to a position that          injuries caused by a state court judgment’;
   it successfully advanced in another                     (3) the plaintiff ‘invite[s] . . . review and
   proceeding. See Mitchell v. Washingtonville             rejection of that judgment’; and (4) the state
   Cent. Sch. Dist., 190 F.3d 1, 6 (2d Cir. 1999).         judgment was ‘rendered before the district
   Thus, “[a] party invoking judicial estoppel             court proceedings commenced.’”              Id.
   must show that (1) the party against whom               (alterations in original) (quoting Hoblock v.
   the estoppel is asserted took an inconsistent           Albany Cty. Bd. of Elecs., 422 F.3d 77, 85 (2d
   position in a prior proceeding and (2) that             Cir. 2005)). However, a plaintiff’s injuries
   position was adopted by the first tribunal in           are not “caused by a state court judgment”
   some manner, such as by rendering a                     when the state court “simply ratified,
   favorable judgment.” Id. (citation omitted).            acquiesced in, or left unpunished” the actions
       Here, plaintiff has not taken a position            of a third party. Hoblock, 422 F.3d at 88.
   inconsistent with its position in any prior             Additionally, “a party is not complaining of
   action.     In fact, plaintiff’s basis for              an injury ‘caused by’ a state-court judgment
   foreclosure in the instant action is based on           when the exact injury of which the party
   the same LPA at issue in other successful               complains in federal court existed prior in
   foreclosure actions filed by plaintiff. See             time to the state-court proceedings, and so
   OneWest Bank, N.A. v. Melina, 827 F.3d 214,             could not have been ‘caused by’ those
   222 (2d Cir. 2016); CIT Bank N.A. v. Elliot,            proceedings.” McKithen v. Brown, 481 F.3d
   15-CV-4395, 2018 WL 1701947, at *8-9                    89, 98 (2d Cir. 2007).
   (E.D.N.Y. Mar. 31, 2018); OneWest Bank,                     Here, plaintiff does not complain of
   N.A. v. Rubio, No. 14-CV-3800, 2015 WL                  injuries caused by a state court judgement;
   5037111 (S.D.N.Y. Aug. 26, 2015).                       rather, plaintiff’s foreclosure claim is based
   Therefore, defendant’s judicial estoppel                on defendants’ default on their loan payment,
   defense fails as a matter of law.                       events that occurred prior to the state court
      2. The Rooker-Feldman Doctrine                       action.    Therefore, the Rooker-Feldman
                                                           doctrine does not bar plaintiff’s claim.
       In his final defense, defendant asserts that
   the instant action is barred by the Rooker-                                 ***
   Feldman doctrine. “Under the Rooker–
   Feldman doctrine, federal district courts lack              In sum, the Court finds that each of
   jurisdiction over cases that essentially                defendant’s challenges is without merit and is
   amount to appeals of state court judgments.”            insufficient to create a triable issue of fact
   Vossbrinck v. Accredited Home Lenders,                  sufficient to defeat summary judgment. The
   Inc., 773 F.3d 426, 426 (2d Cir. 2014) (citing          uncontroverted evidence establishes that
   Exxon Mobil Corp. v. Saudi Basic Indus.                 defendants’ Mortgage was validly assigned
   Corp., 544 U.S. 280, 283-84 (2005)). “The               by IndyMac to plaintiff prior to the
   doctrine is rooted in the principle that                commencement of this foreclosure action.
   ‘appellate jurisdiction to reverse or modify a          Additionally, the Marks Affidavit states
   state-court      judgment     is    lodged . . .        unequivocally that based on her inspection of
   exclusively in [the Supreme] Court.’” Id.               the relevant business records maintained by

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